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 3   Telephone: (916) 498-9258
 4   Attorney for Defendant
     DALJIT SEKHON
 5
 6
                       IN THE UNITED STATES DISTRICT COURT
 7
                     FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9
     UNITED STATES OF AMERICA,  )
10                              ) Case No. CR.S-08-471-GEB
                  Plaintiff,    )
11                              )
         v.                     ) STIPULATION AND ORDER FOR
12                              ) TEMPORARY RETURN OF PASSPORT
                                )
13                              ) Date: February 19, 2009
     DALJIT SEKHON,             ) Time: n/a
14                              ) Judge: Hon. Kimberly J.
                  Defendant.    )      Mueller
15   __________________________ )
16       Defendant, by and through her undersigned counsel,
17   hereby moves the court for an unopposed order authorizing the
18   Clerk of the United States District Court for the Eastern
19   District of California to temporarily release her passport.
20       Defendant will need her passport to renew it and for
21   travel to Vancouver Canada.              Defendant will leave the United
22   States on June 26, 2009 and return on July 1, 2009.
23   Defendant will surrender her passport back to the clerk no
24   /////
25   /////
26   /////
27   /////
28   /////

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              Case 2:08-cr-00471-KJM Document 18 Filed 02/20/09 Page 2 of 2


 1   later than July 3, 2009.                   The Government does not oppose
 2   this request. Defendant's Passport Number is 159234165
 3
 4   Respectfully submitted,
 5
     Dated: February 19, 2009                      /s/ Mark J. Reichel
 6
                                                   MARK J. REICHEL
 7                                                 Attorney for Defendant
                                                   Daljit Sekhon
 8
 9   IT IS SO ORDERED.
10   DATED: February 20, 2009.
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15   Ddad1/orders.criminal/sekhon0471.stipord

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